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                                                                            United States District Court
                                                                              Southern District of Texas

                                                                                 ENTERED
                                                                               October 08, 2019
                         UNITED STATES DISTRICT COURT
                                                                              David J. Bradley, Clerk
                          SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION

ALEXIS JANAE SHANKLIN, et al,               §
                                            §
        Plaintiffs,                         §
VS.                                         §   CIVIL ACTION NO. 4:19-CV-3623
                                            §
AMC ENTERTAINMENT HOLDINGS,                 §
INC., et al,                                §
                                            §
        Defendants.                         §

                           ORDER STRIKING PLEADING

       Pending before the Court is Defendant AMC Entertainment Holdings, Inc.’s

Motion to Dismiss for Lack of Personal Jurisdiction (Dkt. 3). The instrument is deficient

for the following reason(s):


    The motion does not comply with the Court’s Procedures section 6(B), regarding
     pre-motion conferences required for particular motions.

       The Clerk is hereby ORDERED to strike the above instrument(s) from the record

and notify counsel of such action.

       SIGNED this day 8th day of October, 2019.



                                            ___________________________________
                                            George C. Hanks Jr.
                                            United States District Judge




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